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                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY


     ACP GP, LLC, et al                              Civil Action No.
                  Plaintiffs,                        2:18-CV-8786-KSH-SCM
     v.
                                                     SUPPLEMENTAL
     UNITED HOME CARE, INC., et al                   SCHEDULING ORDER
             Defendants.

          IT IS on this Tuesday, March 10, 2020 ordered that the Scheduling Order is

   hereby supplemented as follows:

   1. Fact deposition discovery is extended to 5/22/2020 for depositions noticed by
      4/15/2020.

   2. A settlement conference to be held on 6/25/2020 at 11:30 AM before Judge Steve
      Mannion in courtroom 2B. Lead trial counsel and clients who have settlement
      authority must appear. Confidential settlement positions no longer than five pages
      should be received by Judge Mannion 8 days before the conference and not filed via
      ECF.

   3. Motions for summary judgment shall be filed on 7/24/2020. See Fed. R. Civ. P.
      56(b); Local Civ.R. 7.1. Opposition is to be filed within 14 days. Replies are to be
      filed within seven days of the opposition. The motion will returnable before the Hon.
      Katharine S. Hayden, U.S.D.J., and the Judge’s chambers will advise whether oral
      argument will be requested. If the case is not dismissed on motion, the parties shall
      reengage in settlement discussions and plaintiff shall contact the undersigned in
      writing within one week to schedule a telephone conference.

   4. FAILURE TO COMPLY WITH THE TERMS OF THIS ORDER OR ANY
      SUBSEQUENT SCHEDULING ORDERS ENTERED BY THIS COURT MAY
      RESULT IN SANCTIONS. See Fed.R.Civ.P. 16(f) and 37.




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   Original: Clerk of the Court
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   cc:    Hon. Katharine S. Hayden, Sr. U.S.D.J.
          All parties
          File
